               Case 3:13-cr-03482-BTM                                      Document 260                         Filed 12/12/14               PageID.1237          Page 1 of 5

       ~AO 245B (CASD) (Rev. 4/14)               Judgment in a Criminal Case
                     Sheet I

                                                                                                                                                              DEC I 22014

                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                            UNITED STATES OF AMERICA                                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                                       v.                                                        (For Offenses Committed On or After November I, 1987)

                        MAE BARBARA WEISSBERGER [8]                                                              Case Number: 13CR3482-BTM
                                                                                                                  MARK ADAMS
                                                                                                                 Defendant's Attorney
      REGISTRATION NO. 66783112

      o
      THE DEFENDANT:
      181 pleaded guilty to count(s) ..:I~O:..:F~T_H=E..:IN:...D::..::..IC:..:T:..:M=EN:.....:T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      o was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              after a plea of not guilty.
              Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                                        Count
      Title & Section                                       Nature of Offense                                                                                          Number(s)
18 USC 1349                                        CONSPIRACY TO COMMIT BANK FRAUD




        The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 15(1 Count(s)~e:::m::.:a:::m.::m::!g'_c:::o:::u::.:nt:::s..::o:::..:::t
 ~              R "                                              f h:::e..:;In:::::lc:::t.::m;:e::;nt:..-_________
                                                                              d'                                   is   0     IVI
                                                                                                                            are~        d'ISffilsse
                                                                                                                                               , d on t he motton
                                                                                                                                                              ' 0 f the Umte
                                                                                                                                                                          'd States.
 181 Assessment: $100 To be paid within 6 Months,

 181 Fine waived                                                      o
                                                      Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,                                    I,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                                          NOVEMBER 21,2014
                                                                                                         Date of Imposition of Sentence




                                                                                                         ~~
                                                                                                         if. "'.JI~~
                                                                                                             BAY EDMOSKOWiTZ
                                                                                                         UNITED SATES DISTRICT JUDGE


                                                                                                                                                                         13CR3482-BTM
      Case 3:13-cr-03482-BTM                      Document 260            Filed 12/12/14          PageID.1238           Page 2 of 5

AD 24SB (CASD) (Rev. 41l4)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                                    Judgment - Page _ _2::...._ of    5
DEFENDANT: MAE BARBARA WEISSBERGER [8]
CASE NUMBER: 13CR3482-BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (2 DAYS).



     o
     o
         Sentence imposed pursuant to Title 8 USC Section 1326(b).
         The court makes the following recommendations to the Bureau of Prisons:
                                                                                                      T-eJ
                                                                                                 ~MOSKOWITZ~
                                                                                                 UNITED STATES DISTRICT JUDGE




     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.      Op.m.       on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                                   RETURN
I have executed this judgment as follows:

         Defendant delivered on                                                       to

at                                                     with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                             13CR3482-BTM
         Case 3:13-cr-03482-BTM                    Document 260              Filed 12/12/14            PageID.1239             Page 3 of 5

AD 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page        3     of        5
DEFENDANT: MAE BARBARA WEISSBERGER [8]                                                                D
CASE NUMBER: 13CR3482-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or afler September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000.pursuant to 18 USC sections 3563(a)0) and 3583(d).                                                 '
       The derendant shall comply with ffie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution ·obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia_related to any controIIed substances, except as prescribed by a physicia"n;
  8)    the defendant shaH not frequent places where controned substances are illegaIIy sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR3482-BTM
            Case 3:13-cr-03482-BTM                     Document 260            Filed 12/12/14           PageID.1240            Page 4 of 5

        AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4 -   Special Conditions
                                                                                                              Judgment-Page _ _4_ of _--,,"5_ _
        DEFENDANT: MAE BARBARA WEISSBERGER [8]                                                           o
        CASE NUMBER: 13CR3482-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
IV! Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least] to 8 tests per month and] to 8
  counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
~ Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
~ Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
~ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

~ Remain in your place of residence for a period of 240 days, except while working at verifiable employment, attending religious services,
    performing Community Service or undergoing medical treatment or any such other reasons approved by the probation officer. The defendant
    shall be subject to electronic monitoring with the fees for electronic monitoring waived.


~ Make restitution to the Wells Fargo Bank in the ,amount of $197,684.00, to be paid in installments of$] 00.00 per month (Subject to
  increase and decrease). Jointly and Severally with co-defendants
~ Provide complete disclosure of personal and business financial records to the probation officer as requested.
~ Be prohibited from opening bank or credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within                 days.
~ Complete 300 hours of community service in a program approved by the probation officer within 18 months.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Participate for a period of 240, days in the home detention component of the Location Monitoring Program, which may include electronic
    monitoring, GPS, Alcohol monitoring, or other automated identification systems; the defendant shall observe all rules of such program, as
    directed by the Probation Officer. The defendant shall maintain a residential telephone line without devices and/or services that may interrupt
    the operation of the monitoring equipment, unless excused by the Probation Officer. the fees for electronic monitoring waived.

~ .'fhe.defendant ~hall notifytheCollectionsVnit, l.J!jlte<!SlatesA(fomeY'sQffice within) 0days,ofobiaining any interest in property,
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    days"before Iransfeqingailyinteresi.1fipropettY.va,h.(edat$l,OOO or more oWlleddirectly or indirectlyhytheDefendanf, including any
    interest held or owned under any other natue or entity, inCluding a trust,partnership"and/or corporations."           ,




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                Case 3:13-cr-03482-BTM         Document 260        Filed 12/12/14      PageID.1241        Page 5 of 5
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     ,AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

          DEFENDANT:            MAE BARBARA WEISSBERGER [8]                                          Judgment - Page 5 of 5
          CASE NUMBER:          13CR3482-BTM

                                                    RESTITUTION


         The defendant shall pay restitution in the amount of $197.684.00            unto the United States of America.
         For the benefit of Wells Fargo Bank through the Clerk of Court




         This sum shall be due immediately. And shall be paid as follows: Defendant shall pay restitution in
         installments in the amount of $1 00 per month, subject to increase or decrease.




         The Court has determined that the defendant    does not    have the ability to pay interest. It is ordered that:
             The interest requirement is waived




                                                                                                              13t:R3481-BTM
